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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

RAYMOND J. NANNEY                             :
3913 Granite Street                           :-
Cheyenne, WY 82001                            :
                                              :
                       Plaintiff              :
               v.                             :
                                              :       NO.
BNSF RAILWAY COMPANY, f/k/a                   :
Burlington Northern and Santa Fe              :
Railway Company                               :
2650 Lou Menk Drive                           :       JURY TRIAL DEMANDED
Fort Worth, TX 76131                          :
                                              :
                       Defendant.             :

                                          COMPLAINT

       1.      This suit is governed by the Federal Employers' Liability Act, 45 U.S.C. Sec. 51

et seq. (FELA), which grants this Court jurisdiction over this action.

       2.      Plaintiff, Raymond J. Nanney, is an adult individual residing at the above

captioned address.

       3.      Defendant, BNSF Railway Company, f/k/a Burlington Northern and Santa Fe

Railway, successor in interest to Burlington Northern Railroad and Atchison, Topeka and Santa

Fe Railway, amongst others, was at all times relevant hereto, engaged in interstate commerce in

and throughout several states of the United States as a common carrier by rail and for the

purposes hereof did operate locomotives, railroad cars and repair facilities and transacted

substantial business throughout the various states of the United States, including the State of

Colorado.

       4.      Railroads and their facilities are notorious for having been contaminated from

years of transporting toxic substances and from the use of toxic substances and known

carcinogens in the operation of the railroads themselves.

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       5.      From July 5, 1978 to May 2017 Plaintiff was employed by the Defendant railroad,

or its predecessor in interest, as a trackman and machine operator on tie gang/rail gang and was

acting in the course and scope of his employment with Defendant and was engaged in the

furtherance of interstate commerce within the meaning of said Act.

       6.      During the course and scope of his career with the Defendant railroad and while

working in the Defendant’s yards, buildings, locomotives and along its rights of way, mainly in

Colorado and Wyoming, the Plaintiff was exposed to various toxic substances and carcinogens

including but not limited to diesel fuel/fumes/exhaust, creosote, rock/asbestos/sand dust and

fibers and welding fumes.

       7.      Specifically, Plaintiff was exposed to diesel fuel/exhaust/fumes from diesel

powered on track equipment; creosote from handling rail ties and timbers; silica from ballast

dust, asbestos dust from brake shoe that was deposited in the ballast and asbestos insulation in

the various track machines that the Plaintiff operated, as well as welding fumes from electrical

and thermite welding.

       8.      Plaintiff’s exposure to the above referenced toxic substances and known

carcinogens, whether by touch, inhalation or consumption, in whole or in part, caused or

contributed to his development of colon cancer.

       9.      Plaintiff’s exposure was cumulative and occurred at different and variable

exposure levels over the course of his career depending on his work location.

       10.     The Plaintiff’s cancer is the result of the negligence of the Defendant railroad in

that it utilized known cancer causing materials in its operation, which the Defendant knew, or in

the ordinary exercise of ordinary care should have known, were deleterious, poisonous, toxic and

highly harmful to its employees’ health.

       11.     Defendant’s negligence consisted of:

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           (a)   Failing to use ordinary care and caution to provide the
                 Plaintiff with a reasonably safe place in which to work
                 as required by the FELA;

           (b)   Failing to take any effective action to reduce, modify
                 or eliminate certain job duties, equipment or practices
                 so as to minimize or eliminate the Plaintiff’s exposure
                 to toxic materials and carcinogens;

           (c)   Failing to test railroad facilities, equipment, yards,
                 buildings, and right of ways for the presence of
                 toxic materials and carcinogens;

           (d)   Failing to engage in follow up monitoring of its
                 facilities, equipment, yards, building, and right of ways
                 for the presence of toxic materials and carcinogens;

           (e)   Failing to properly remediate known toxic materials
                 and carcinogens from its facilities, equipment,
                 yards, building, and right of ways

           (f)   Failing to periodically test employees such as the
                 Plaintiff for physical effects of exposure to toxic
                 materials and carcinogens and failing to take
                 appropriate action, including advising the Plaintiff
                 as to the test results;

           (g)   Failing to warn the Plaintiff of the risk of
                 contracting cancer or other diseases as a result of
                 exposure to known carcinogens;

           (h)   Failing to make reasonable efforts to inspect or
                 monitor the levels/amounts of exposure, of the
                 Plaintiff, to carcinogens;

           (i)   Failing to provide the Plaintiff with the knowledge
                 as to what would be reasonably safe and sufficient
                 wearing apparel and proper protective equipment to
                 protect him from being poisoned and injured by
                 exposure to carcinogens;

           (j)   Failing to comply with the Occupational Safety and
                 Health Act of 1970, specifically Section 5(a)(1),
                 requires employers to provide their employees with a
                 workplace free from recognized hazards likely to
                 cause death or serious physical harm;


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                (k)     Failing to utilize low emissions fuel such as bio-
                        diesel for its locomotives and on-track machinery
                        and;

                (l)     Failing to provide the Plaintiff with protective
                        equipment designed to protect him from exposure to
                        toxic materials and carcinogens.

        12.     The aforesaid occurrences were caused in whole or in part by the negligence of

the Defendant and/or the negligence of the Defendant’s agents, servants and/or employees.

        13.     As a direct result of the negligence of the Defendant, the Plaintiff experienced and

endured pain, suffering, inconvenience, irritation, annoyance; suffered emotional distress;

incurred medical expenses associated with diagnosis and treatment.

        14.     As a result of the negligence of the Defendant, Plaintiff sustained a loss of

income, benefit and future income and benefits.

        15.     Plaintiff suffers from a fear of death as a result of his cancer.

        16.     Plaintiff seeks all damages recoverable under the FELA.

        17.     Less than three (3) years before Plaintiff’s Complaint was filed he first learned

that his cancer was caused or contributed to by the negligence of the Defendant.

        WHEREFORE, the Plaintiff, Raymond J. Nanney, demands judgment against the

Defendant in a sum in excess of FIVE HUNDRED THOUSAND DOLLARS ($500,000.00) and

the costs of this action.

                                                        BERN CAPPELLI, LLC


Dated: October 27, 2021                                 BY: /s/Jennifer Hoffman
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                                                        Attorney for Plaintiff
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